         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                     Case No. 5D2023-1920
                   LT Case No. 2020-CF-3905
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MARCUS ANTHONY DOTHARD,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
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On appeal from the Circuit Court for Marion County.
Lisa D. Herndon, Judge.

Matthew J. Metz, Public Defender, and Allison A. Havens,
Assistant Public Defender, Daytona Beach, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Allison L
Morris, Assistant Attorney General, Daytona Beach, for Appellee.


                        August 20, 2024


PER CURIAM.

    AFFIRMED.


MAKAR, JAY, and EISNAUGLE, JJ., concur.
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Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
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